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Case 2:23-cv-11597-BRM-CI ECF No. 29, PagelD.83 Filed 08/25/23 Page 1 of 17:

om)
UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION
Elizabeth Nelson
PO Box 1422
ARREN MI 48090 Case No. 2:23-cv-11597 NGE-
CI FILED
CLERK’S OFFICE
ALBERT THROWER
PO BOX 6702 AUG 2 5 2023
CLEVELAND, OH 44101
LEGS
HIGAN Judge: Nancy Edmunds
Plaintiffs(s)
-V§S-
Magistrate Judge Curtis Ivy Jr
|
2nd AMENDED
COMPLAINT

42 USC Section 1983
4th, Sth 14th Amendment,
Privacy Act violations

| Jury Trial Demanded

$100 Million USD

VERTIFIED COMPLAINT

ROBERT SCOTT (JOHN DOE PROPERTY MAINTENANCE DIVISION
SUPERVISOR rscott@cityofwarren.org.
SUITE 315. ONE CITY SQUARE, WARREN, MI, 48093

SERVICE TOWING INC
6006 Rinke Ave
Warren MI 48091

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Case 2:23-cv-11597-BRM-CI ECF No. 29, PagelD.84 Filed 08/25/23 Page 2 of 17

LE TOWING LLC
0s Rinke Ave

arren MI 48091
EDWARD D. HERTZ President
6006 Rinke Ave
Warren, MI 48091

BRUCE HERTZ Secretary
6006 Rinke Ave
Warren, MI 48091

soca A Hertz Registered Agent of SERVICE TOWING INC.
6006 Rinke Ave Warren MI 48091

RANDY HERTZ
6406 Rinke Ave, Warren MI 48091

DENNIS HERTZ
6006 Rinke Ave., Warren MI 48091

JAMES CUMMINS BUILDING DEPARTMENT DIRECTOR
1 CITY SQUARE, WARREN, MI 48093

CURTIS GAUSS #22
CITY OF WARREN MI DEPARTMENT OF MAINTENANCE EMPLOYEE
1 City Square, Warren, MI 48093

Frank Badalamente / Badalamenti
City of Warren Bldg Dept

One City Square

Warren, MI 48093

Mary Michaels
One City Square
Warren, MI 48093

Brian Kijewski

City of Warren MI Dept of Maintenance Employee
One City Square

Warren, MI 48093

Case 2:23-cv-11597-BRM-Cl ECF No. 29, PagelD.85 Filed 08/25/23 Page 3 of 17

Marilyn Trembath
One City Square
Warren, MI 48093

4 JOHN DOE WARREN POLICE DEPT POLICEMEN
29900 CIVIC CENTER DR
'ARREN MI 48093

CITY OF WARREN

1 City Square, Warren, MI 48093

WARREN POLICE COMMISSIONER WILLIAM DWYER
29900 CIVIC CENTER DR

WARREN, MI 48093

Captain William Reichling
29900 CIVIC CENTER DR
WARREN, MI 48093

Mayor James Fouts
1 City Square, Warren, MI 48093

|
KIMBERLY ELIZABETH BRANSON

*EVERETT MURPHY

CITY OF WARREN FILED INSPECTOR
1 City Square,

Warren MI 48093

*PETE WARACK
1 City Square
Warren MI 48093

* ANNETTE GATTARI ROSS

1 City Square

Wperen MI 48093

*R. LIPA

CITY OF WARREN RENTAL INSPECTOR
1 City Square

Warren, MI 48093
Case 2:23-cv-11597-BRM-CI ECF No. 29, PagelD.86 Filed 08/25/23 Page 4 of 17

VERIFIED COMPLAINT
Preliminary Statement
This is a civil rights action filed by Elizabeth Nelson, Michigan citizen, Albert Thrower,
Ohio citizen for damages and injunctive relief under 42 USC Section 1983, alleging
illegal search and seizure 3/11/20, 7/7/21, 7/8/21 under 4, 5 14" Amendment of the
United States Constitution, and torts of assault and battery, trespass, under state law

|
e 1) This action seeks money damages because of a CITY OF WARREN

EMPLOYEES’ participation, conspiring, acting in concert in private parties’
| violating plaintiffs united states constitutional rights, wrongful deprivation of
plaintiffs’ (p) property and state crimes of falsification, trespassing et al crimes in the
process
e: 2) Plaintiffs allege all Defendants acted “under color of state law”, “acting in their
individual capacities” and violated plaintiffs rights under the Fourth, Fifth and
| Fourteenth Amendments Constitution of United States, Michigan Constitution Due
Process Cl] Art 1 Sec 17, Sec 11
¢ 3) Plaintiffs also bring state law claims pursuant to Court’s supplemental jurisdiction

of trespass, theft, assault and battery, kidnapping, false imprisonment, abuse of

process.
¢| 4) At all times Private parties named “conspired”, acted in concert, tandem, with
state actors in the deprivation of (P) US Constitutional rights
e 5)(D) JOHN DOE is the City of Warren policy maker in
Jurisdiction
© 6) This Court has jurisdiction over Plaintiffs’ federal claim under 42 U.S.C. §§
| 1331(a) and 1343.
e 7) The Court has supplemental jurisdiction over Plaintiffs’, state law claims, under
— 28 U.S.C. § 1367.
° | 8) Venue in the United States District Court for Eastern District of Michigan

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Case 2:23-cv-11597-BRM-CI ECF No. 29, PagelD.87 Filed 08/25/23 Page 5 of 17

Southern Division is proper pursuant to 28 U.S.C. § 1391 where the acts occurred.
9) Plaintiff ELIZABETH NELSON is a Michigan citizen & rents basement
apartment at 7568 Hudson Ave Warren MI 48091 during time period of facts alleged
10) Plaintiff ALBERT THROWER is a citizen of Ohio. Hereinafter (P) Thrower has his
choice of 1 of 4 vacant apartments @ 7568 Hudson Ave Warren MI 48091 pursuant to a
written lease, as his capacity as manager. Ex A and was living in basement apartment
7568 Hudson Ave Warren MI 48091 when in town during time period of facts alleged
11) Defendants SERVICE TOWING INC., ABLE TOWING LLC is a company
principally engaged in the business of towing motor vehicles and has its principal place
of business in WARREN MICHIGAN. (D) EDWARD HERTZ IS President, (D)
DENNIS HERTZ Treasurer, (D) BRUCE HERTZ Secretary, (D) Sandra Hertz Resident
Agent of SERVICE TOWING INC., Able Towing LLC, Randy Hertz is
owner/employee. All these private parties acted “under color of state law” acted “in
concert” and in a “conspiracy” with state actors acting under “color of state law”
defendants per the facts alleged.
¢ 12) Defendant Kimberly Elizabeth Branson ((D) Branson) is a tenant @ 7568
Hudson Ave Warren MI 48091 Upstairs. She entered into an agreement, to “work
for the city” per (D) Robert Scott, (D) Fouts and other city defendants. She had her
eviction stayed due to covid or informant status. She conspired with state actors
| acting in their individual capacities under color of law to violate the United States
Constitutional rights of plaintiffs
¢ 13) Defendants EDWARD HERTZ, DENNIS HERTZ, BRUCE HERTZ, RANDY
HERTZ, hereafter (Ds?) HERTZ BROS. & SANDRA HERTZ are owners,
~ employees of Service Towing Inc., Able Towing LLC, a tow company in Warren
Mi., these (Ds’) acted in concert and conspiracy with SCOTT, CUMMINS, GAUSS,
BADALEMENTE, TREMBATH, KIJEWSKI, MICHEALS, DWYER, FOUTS,
REICHLING, MURPHY, WARACK, R. LIPA, Doe Defendants, Doe city of warren
- police dept. john doe defendants, to violate United States Constitutional rights of the
| plaintiffs
© 14) Defendants’ Does are employed by city of warren Michigan, and will be

5
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Case 2:23-cv-11597-BRM-CI ECF No. 29, PagelD.88 Filed 08/25/23 Page 6 of 17

identified after discovery including city of warren policymaker

¢ 15) Defendant Robert Scott is the supervisor of city of warren mi property and
| maintenance division and has been identified he is being sued in his “INDIVIDUAL
CAPACITY” AND AT ALL TIMES ACTED “UNDER COLOR OF STATE LAW”

¢ 16) Defendant James Cummins is city of Warren mi building department director, he
is sued in is “individual capacity” and all times acted “under color of state law”

¢ 17) Defendant Gus Ghanam is public service director, he is sued in his “individual
capacity” and all time acted “under color of state law”

¢ 18) (D) Frank Badalemente is an employee of City of Warren Building Dept. He is
being sued in his individual capacity acting under color of law

¢ 19) DEFENDANT EVERETT MURPHY IS FIELD INSPECTOR FOR THE CITY
OF WARREN MICHIGAN, HE IS BEING SUED IN HIS “INDIVIDUAL
CAPACITY” VIOLATING CIVIL RIGHTS “UNDER THE COLOR OF LAW”
e 20) DEFENDANT R. LIPA IS A CITY OF WARREN MI RENTAL INSPECTOR,
_ HEIS BEING SUED IN HIS “INDIVIDUAL CAPACITY” VIOLATING CIVIL
| RIGHTS “UNDER THE COLOR OF LAW”
¢ 21) DEFENDANT PETE WARACK IS A CITY OF WARREN MI EMPLOYTEE,
HE IS BEING SUED IN HIS “INDIVIDUAL CAPACITY” VIOLATING CIVIL
RIGHTS “UNDER THE COLOR OF LAW”
¢ 22) Atall times relevant hereto all defendants named, and JOHN DOES, (D)
ROBERT SCOTT, JAMES CUMMINS, GUS GHANAM, Trembath, Michaels,
Kijewski, Gauss, Badalamente, EVERETT MURPHY, R. LIPA, WARACK acted in
concert, conspired with other Defendants INCLUDING SERVICE TOWING INC.,
ABLE TOWING LLC (Ds’) EDWARD HERTZ, BRUCE HERTZ, SANDRA
HERTZ, DENNIS HERTZ, Branson “under color of state law” acting in their
individual capacity. Named defendants and JOHN DOES are sued in their individual
capacity.
e 23) Defendant City of Warren MI is the local governmental unit for which Defendant
DOES work. It is being sued for “failure to train” it’s employees

¢ 24) (D) warren police commissioner William Dwyer is identified as the police
commissioner for the city of warren, mi, he is being sued in his individual capacity

| 6

Cast 2:23-Cv-11597-BRM-CI ECF No. 29, PagelD.89 Filed 08/25/23 Page 7 of 17

and acting under color of state law, and failing to train his policer officers

25) CURTIS GAUSS #22 is a city of Warren Bldg Dept or Maintenance Dept

employee, sued in his individual capacity, acting under color of state law

¢ 26) Brian Kijewski works for the city of Warren Mi Maintenance Dept. He is being
sued in his individual capacity and acting under color of state law

e¢ Mary Michael’s is City attorney sued in her individual capacity acting under color of

state law giving other defendants to go ahead to enter basement apartment of

plaintiffs and to tow cars

27) Mary Trembeth is sued in her individual capacity, her job will be identified in

further filings

¢ 28) Defendant ANNETTE GATTARI ROSS is being sued in her individual capacity

acting under color of law

¢ 29) Defendant Captain William Reichling is the supervisor of the Van Dyke
substation police station on Van Dyke- he was at the scene to tow vehicles 7/7/21
acting in his individual capacity with other Doe officers

FACTS

¢ 30) On or about 3/11/2020, the defendants (hereinafter Ds’) SCOTT, CUMMINS,
Gauss, Badalemente, Brian Kijewski, MURPHY, WARACK, LIPA, DOES, GUS
GHAHAM entered the basement of property at 7568 Hudson Ave Warren MI 48091

with the assistance of tenant Kim Branson. (Ps’) were not present.

° ! 31) Renter Branson was being evicted from 7568 Hudson Ave Warren MI upper,
since 2019, an apartment with exterior entrance & had her eviction stayed 3/8/20 due
to covid and/or since she was “working for the city” to gain entry at 7568 Hudson
Ave property per 8/21 Tsp.
_© 32) Branson had a key for the 1 basement steel door that was to be used for

e | 33) At 7568 Hudson Ave there is a basement apartment Nelson/Thrower used as

emergency purposes only, i.e., if a breaker tripped in an area behind the steel door.

residence per the facts, time period in this complaint. (P) Thrower-manager of

building, told (D) Branson that basement apartment off main basement room was

private residence and that under no circumstances was she to enter this basement

apartment. (D) Branson was aware that (Ps’) lived in basement apartment & that
_ apartment started at 1° steel door.

© 34) There is a 2nd door entering another part of basement apartment secured by a
dead bolt.
|
Case 2:23-cv-11597-BRM-CI ECF No. 29, PagelD.90 Filed 08/25/23 Page 8 of 17

¢ | On or about 3/11/20, defendants Scott, Gauss, Badalamente, Kijewski, Cummins,
MURPHY, WARACK, LIPA, GHANAM, DOES entered the basement area behind
steel door unlocked by (D) Branson renter acting in her secret informant capacity and

_ having her eviction stayed due to same or from covid.

° | 35) Ps’ aver (Ds) Scott, Gauss, Badalamente, Kijewski, Cummins, MURPHY, LIPA,
WARACK, Does broke through 2nd basement door to enter basement apartment
and/or entered through closed door after being told by (D) Branson that Ps’ lived in

| basement apartment area.

¢ 36) ( Ds’) Scott, Gauss, Cummins, Badalamente, Kijewski, MURPHY, R. LIPA,

WARACK, Does entered basement apartment after conferring with Warren MI legal

department (Ds’) Michaels, Trembath, ANNETTE GATTARI ROSS which is the

custom & policy & (Ds’) Michaels, Trembeth, ANNETTE GATTARI ROSS told city
employees (Ds’) to carrying out a scheme hatched by using (D) Branson informant

status.

| 37) It was obvious to (Ds’) Scott, Gauss, Cummins, Badalamente, Kijewski,
MURPHY, R. LIPA, Does that the basement area off the main basement room was

used for a living area after entering door and going through corridor and indeed was
informed of (D) Branson of this fact.

| 38) 2/20/20 WHO (World Health Organization) declared Covid a worldwide

pandemic.

39) (D) Mayor Fouts had issued emergency declarations 2/20/20 in re covid

| 40) (Ds’) Scott, Gauss, Cummins, Badalamente, Kijewski, WARACK, MURPHY, R.
LIPA, Does did not have a search warrant to enter basement apartment and ignored

covid pandemic guidelines including wearing mask or gloves ON OR ABOUT
3/13/20.

| 41) “Entry to Rental Property” “Under Michigan common law, a tenant has a right to

“quiet enjoyment’ of the rental premises... protects against unreasonable entry.

Unreasonable entry isn’t lawful, it is trespassing. Trespassing is both a tort and a
crime” , AND VIOLATION OF US CONSTITUION 4", 14 AMENDMENT

Case 2:23-cv-11597-BRM-CI ECF No. 29, PagelD.91 Filed 08/25/23 Page 9 of 17

_ RIGHTS, PRIVACY ACT
¢ | 42) (D) Branson-a tenant did not have legal authority or apparent authority to allow

(Ds’) Scott, Gauss, Cummins, Badalamente, Kijewski, MURPHY, WARACK, R.
LIPA, Does to enter basement apartment of (Ps’) Thrower, Nelson and was (Ds’)
Scott, Gauss, Cummins, Badalamente, Kijewski, MURPHY, WARACK, R. LIPA,
Does were told by (D) Branson (Ps’) Thrower/Nelson lived in the basement apartment

| secured with deadbolt. The basement apartment began behind the deadbolt steel door
next to the laundry room and there was a 24 door with deadbolt for additional
security

e 43) (D) Branson 3/8/20 had her eviction stayed due to covid from a default judgment

entered at her eviction hearing 1/20 or stayed via informant status.
e 44) When Ds’ Scott, Gauss, Cummins, Badalamente, Kijewski, MURPHY,
WARACK, R. LIPA, Does entered the basement apartment of Ps’ it was obvious that

this was used as a living area by (Ps’). Ds’ Scott, Gauss, Cummins, Badalamente,
Kijewski, MURPHY, R. LIPA, WARACK, Does disregarded 2/20/20 WHO covid

declaration pandemic and did not wear gloves, or mask and did not tell Ps’ Thrower,

Nelson that they entered said apartment. See Ex A (P) Thrower lease
e 45) (Ps) Thrower, Nelson did not become aware that (Ds’) Scott, Cummins, Gauss,
Badalamente, Kijewski, MURPHY, WARACK, R. LIPA, Does had entered basement
apartment until 4/23.
¢ 46) (P) Thrower 3/20 was informed he had prostate cancer and was scheduled for 40
days of radiation treatment 4/14/20-5/21/20 Cleveland MetroHealth making him “at
risk” person for covid virus transmission, Ex B
° | 47) (P) Nelson, then a 51 Warren Mi citizen home was 7568 Hudson Ave basement
“at time of entrance and is considered “at risk” individual per covid guidelines,
including being a cancer survivor. This is the address on her driver’s license and lease
listing same.
e 48) Although covid had been declared a worldwide pandemic 2/20/20 by WHO

(World Health Organization) no one knew how it was spread or how long the virus

Case 2:23-cv-11597-BRM-CI ECF No. 29, PagelD.92 Filed 08/25/23 Page 10 of 17

~ remained lethal compounding the exposure to covid to “at risk” Ps’ Thrower, Nelson
by the secret entering and non-disclosure of Ds’ Scott, Cummins, Gauss,
| Badalamente, Kijewski, MURPHY, WARACK, R. LIPA, Does into Ps’

Thrower/Nelson basement apartment.
| 49) (Ps’) aver that (Ds’) city attorney Mary Michaels, Trembath, ANNETTE
GATTARI ROSS was aware and approved of the illegal “sneak and peak” entry and

|
in fact advised during same

° | 50) DEFENDANT CITY OF WARREN CHARGED (P) ALBERT THROWER
3/13/20 $472.64 FOR ALLEGED WORK, PAID BY (P) ALBERT THROWER,

WHEN STATE OF MICHIGAN, CITY OF WARREN WAS ON EMERGENCY

COVID LOCK DOWN |
_51) DEFENDANT CITY OF WARREN MI CHARGED (P) ALBERT THROWER

3/24/20 FOR “WORK DONE AT THE ABOVE PROPERTY”, $475, FOR
| ‘BLIGHT GRASS” WHEN GRASS DOES NOT GROW IN MARCH AND CITY

OF WARREN, STATE OF MI WAS ON EMERGENCY COVID LOCKDOWN
_ AND GRASS CUTTING WAS SUSPENDED BY GOVERNOR WHITMER

ORDERS

' 52) On or about 7/21, (D) Branson still living 7568 Hudson Ave and paying rent into

escrow to Warren 37" District Court was told by (D) Scott to disregard Judge Chupa
|

| 53) 8:00 AM 7/7/21 (D) Branson called (D) Scott, MURPHY, LIPA, WARACK,
CUMMINS, or (D) Mayor Fouts, Does acting as an informant per agreement and told
(Ds’) Scott, Gauss, Cummins, Badalamente, Kijewski, MURPHY, WARACK, LIPA,
Does that (P) Thrower arrived at 7568 Hudson Ave.
| 54) (D) Scott, Gauss, Cummins, Badalamente, Kijewski, WARACK, LIPA,
MURPHY, Does contacted the Warren Police Van Dyke substation and raided (P) |
| Thrower address 7568 Hudson Ave Warren Mi and towed (P) Thrower 2011

order and “not to pay rent into escrow at the court” as ordered by Judge Chupa.
|
|

Silverado with (D) Service Towing Inc., Able Towing LLC Hertz Brothers defendants
|in the morning. AT THE TIME OF THE RAID (P) THROWER DID NOT HAVE

10
Case 2:23-cv-11597-BRM-CIl ECF No. 29, PagelD.93 Filed 08/25/23 Page 11 of 17
|
_ ANY CHARGES PENDING AGAINST HIM PER COURT RECORDS.
| DEFENDANTS DID NOT HAVE A SEARCH WARRANT ISSUED BY A
NUETRAL JUDGE UPON ENTERING THE PROPERTY IN VIOLATION OF THE
4, 14% AMENDMENT UNITED STATES CONSTITUTION
e 55) (P) Thrower avers that (D) Michaels, Trembath, ANNETTE GATTARI ROSS
| conferred with Judge Chumra to obtain a misdemeanor warrant 7/7/21 for (P)
Thrower arrest and tow “inoperable vehicles” after vehicles were towed AND AFTER
| ENTERING 7568 HUDSON AVE WARREN MI PROPERTY WITHOUT SEARCH
WARRANT.
| 56) (D) Scott yelled “I want the black car towed” that belonged to (P) Nelson who
was in Michigan Ascension hospital having travelled there by ambulance several days
| before from 7568 Hudson Ave Warren MI address.
e 57) DEFENDANT ROBERT SCOTT, THREW (P) THROWER MOWER IN HIS
SILVERADO UPSIDE DOWN RUINING SAME 7/7/21, AND CITY OF
WARREN, SCOTT, MURPHY, WARACK, CUMMINS, LIPA, BADALAMENTE,
MICHAELS, CHARGED (P) THROWER, APID BY THROWER $687.50 “blight
| grass...charge for work done at the above property on 7/JUL/21”
¢ 58) On7/7/21 (D) Scott #32 wrote a ticket for 301.3 Unsafe Structure for Human
| Habitation, when (D) Scott is not qualified to write a ticket for same being Head of
Property Maintenance & INFORMATION TO WRITE SAME WAS OBTAINED
| THROUGH ILLEGAL ENTRY WAS DETAILED SUPRA.
¢ 59) When (P) Nelson, a renter @ 7568 Hudson Ave exited the hospital her Honda
| Civic was @ (D) Service Towing Inc. tow yard and she incurred towed fees $330
removing operable vehicle.
© 60) (P) Nelson 2008 Honda Civic was legally parked on cement in the back of the
| 7568 Hudson Ave Warren MI triplex
e 61) Ps’ aver after towing (Ps’) cars (Ds?) MICHAELS, TREMBATH, ANNETTE
GATTARI ROSS obtained Judge Chumra issued CYA 7/7/21 order to tow

“inoperable vehicles” when towed vehicles were operable and order was issued

11

Casd 2:23-Cv-11597-BRM-CI ECF No. 29, PagelD.94 Filed 08/25/23 Page 12 of 17

without a ticket being written and without notice to (Ps’) violating the 4" 5, 14
Amendment of the United States Constitution. See Mullane v Central Hanover Bank
| & Trust Co., 339 US 306 case where Supreme Court set forth constitutional
| requirements for notice of judicial proceedings to a potential party under the 14%

_ Amendment of the United States Constitution

62) Judge Chumra alleged order was issued “without notice and an opportunity to be
heard” as a matter of fact and law issued 7/7/21 with cars towed 7/7/21 9 AM.
¢ 63) Chumra order 7/7/21 was unconstitutional in violation of the 4, 5, 14%
Amendment on its face.
e § 64) 7/7/21 Ds’ Scott, Cummins, Gauss, Badalamente, Kijewski, WARACK, LIPA,
MURPHY, Does threw (P) Thrower mower in pickup upside-down ruining mower.
e 65) Ps’ Thrower heard D Scott screaming in the driveway “I want that black
(Honda) car towed” after (Ds’) Hertz Bros said car “could not be towed without
| damaging same”.
66) Defendants Scott, Cummins, Gauss, Badalamente, Kijewski, WARACK, LIPA,
MURPHY, Does 7/7/21 took personal property belonging to (Ps’) Thrower, NELSON
including 2nd grill, drainage piping attached to house and wood AND CHARGED
$687.50 FOR ILLEGALLY TAKING PROPERTY
¢ 67) On 7/8/21 (P) Thrower went to tow yard to retrieve Silverado @ 9.15 AM.
e 68) (D) DOE Hertz brother stalled (P) Thrower and (D) Hertz brother(s) called (D)
Scott, Property and Maintenance Supervisor per earlier agreement who rushed over to

_ Service Towing Inc.
° 69) 9.40 AM (D) Scott #32 arrived at (D) SERVICE TOWING INC., Able Towing
LLC business 6006 Rinke Ave Warren MI and RACED UP threw (P) Thrower
against the wall physically restraining Thrower inside (D) Service Towing Inc garage
(D) Scott yelling @ (P) Thrower “there was a warrant out for housing violations
allegedly issued 7/7/21”.
70) (P) Thrower yelled @ (D) Scott “what are you doing”? (D) Scott replied, “doing

a citizen’s arrest”. (P) TOLD (D) SCOTT THAT UNDER MICHIGAN LAW HE

12

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Case 2:23-cv-11597-BRM-CI ECF No. 29, PagelD.95 Filed 08/25/23 Page 13 of 17

COULD PERFORM A CITIZENS ARREST. (P) Thrower proceeded to call 911 to
report crime of Kidnapping in process under MI law. (D) Scott #32 knocked (P)
Thrower 313 line out of his hand and knocked (P) Thrower glasses off, breaking them
committing felony “assault & battery”. (P) Thrower told (D) Scott #32 “you are
assaulting me and doing battery on me”, (D) Scott roughing (P) Thrower up and
| holding his hands behind his back.
e | 71) While restraining (P) Thrower (D) Scott searched (P) Thrower Aldi’s bag with
personal property committing tort of trespass, crime of trespass and performing an
illegal search and seizure under Michigan Constitution, 4, 5, 14% Amendment

including illegal seizure by physically restraining (P) Thrower.
¢ 72) Under Michigan law (D) Scott did not have authority to do a citizen’s arrest for
misdemeanor warrant. (P) Thrower told (D) Scott he did not have legal authority to
restrain (P) Thrower, to which (D) Scott #32 responded, “I’m doing a citizens arrest”.
Which (P) Thrower informed (D) Scott “he did not have authority to perform a
citizen’s arrest under MI law per facts”.
e | 73) (P) Thrower phone was knocked out of his hand, and he was forcibly detained
and injured (P) Thrower by (D) Scott.
e 74) Covid was still an issue during this alleged citizen’s arrest 7/8/21 and (D) Scott

was yelling @ (P) Thrower and spit was going on (P) Thrower from (D) Scott.
e 75) After about 10-15 minutes of (P) Thrower being physically detained by (D) Scott
Warren police arrived
e 76) WARREN POLICE WITNESSED THE FELONY IN PROCESS OF
KIDNAPPING (P) ALBERT THROWER AND DID NOT ARREST (D) SCOTT
_ BUT RATHER ARRESTED (P) THROWER FOR ALLEGED MISDEANMOR
_ HOUSING VIOLATIONS
e | 77) Under Michigan Code of Criminal Procedures Act 175 of 1927, 764.16 Arrest by
' Private Persons, situations. Sec 16
° For a felony committed in the private person’s presence

e ...committed felony not in private person’s presence

13

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Case 2:23-cv-11597-BRM-CI ECF No. 29, PagelD.96 Filed 08/25/23 Page 14 of 17

e Ifthe private person is summoned by a peace officer to assist the officer... d) ...”
e 78) After 10 minutes (D) Doe Warren police officers arrived and witnessed (P)
Thrower being physically restrained by (D) Scott, committing the crime of
kidnapping, assault and battery, false imprisonment on the person of (P) Thrower.
(Ds’) 4 Doe Warren police officers did nothing except arrest (P) Thrower while a
trained officer would have recognized (D) Scott did not have authority to perform a
“citizens arrest” under Michigan law and (D) SCOTT was breaking numerous state
laws in Doe officers presence.
e¢ 79) Doe Warren police officers committed the crime of “failure to report a crime” by
| not arresting (D) Scott #32 Under Michigan law: “failure to fulfill this legal duty to
report impeding someone from doing a crime and may be charged as a misdemeanor.”
¢ 80) (P) Thrower made a police report on (D) Scott 7/21 for kidnapping, false arrest,
assault and battery but to (P) Thrower knowledge this was never prosecuted Incident
#2 1-33784.
¢ 81) 7/7/21 (Ds’) SCOTT, Gauss, Cummins, Badalamente, Kijewski, MURPHY,
WARACK, LIPA, Does, Reichling, Dwyer did nothing to ascertain whose cars were
being towed despite defendant Warren police presence or to determine if same were
operable as Judge Chumra order ISSUED WITHOUT NOTICE AS A MATTER OF
LAW AND FACT indicated. Further, as stated supra, said order was issued 7/7/21
and not issued with probable cause, was never served on (Ps’) and cars were towed
BEFORE said order was issued. The custom and police are to write a ticket before
towing cars and an opportunity to be heard in court of Warren city.
e | 82) After towing cars and arresting (P) (D) Fouts issued news release that he was
“keeping 6/21 promise” to get bad landlords-showing he was part of the conspiracy.
e 83) Wherefore, plaintiffs’ requests that the court grant the following relief:

¢ 84) (D) NELSON AN “AT RISK” PERSON UPON EXITING THE HOSPITAL

HAD TO RETRIEVE HER 2008 HONDA CIVIC FROM (D) SERVICE TOWING
INC., ABLE TOWING LLC, EXPOSING HER TO RISK OF COVID

e CLAIMS RELIEF REQUESTED

14

Case 2:23-cv-11597-BRM-CI ECF No. 29, PagelD.97 Filed 08/25/23 Page 15 of 17
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| CLAIM NUMBER ONE:
Per the facts same as if rewritten herein.
¢| 85) The (Ds) Scott, Gauss, Cummins, Badalamente, Kijewski, R. LIPA,
EVERETTE MURPHY, PETE WARACK, Does, Michaels, Trembeth, ANNETTE
| GATTARI ROSS violated the (Ps’) United States Constitutional rights 4th
Amendment, 14" Amendment Due Process Clause when (Ds) entered Ps’ basement
| apartment area ON OR ABOUT 3/13/20, without search warrant, without authority,
WITHOUT PROBABLE CAUSE with or without permission from (D) Branson who
| was not able to give legal permission and was specifically told that she could not enter
basement apartment area of (Ps’) Thrower/Nelson and violated the federal Privacy
_ Act, state laws of trespass a crime under Michigan law.
e CLAIM NUMBER TWO
¢ | 86) PER FACTS SAME REWRITTEN HEREIN the (Ds’) Scott, Gauss, Cummins,
Badalamente, Kijewski, WARACK, MURPHY, LIPA, Michaels, Trembeth,
| ANNETTE GATTARI ROSS, Does entered the apartment ON OR ABOUT 3/13/20
WITHOUT MASKS OR GLOVES of plaintiffs’ when WHO (World Health
| Organization) had determined that covid was a world pandemic 2/20/20, (D) Fouts &
MICHIGAN GOVERNOR had ISSUED emergency announcements in re covid
| violating (Ps) Due Process rights (Ps’) 4, 5“, 14% Amendment United States
Constitution because of exposing “at risk” plaintiffs’ to a state created risk of covid
| by entering (Ps’) apartment and failing to disclose entering said apartment so (Ps’)
could take action in re same.
| CLAIM NUMBER THREE
¢ 87) Per FACTS SAME REWRITTEN HEREIN the (Ds’) Scott, Gauss, Cummins,
| Badalamente, Kijewski, WARACK, MURPHY, LIPA, Does, Michaels, Trembeth,
ANNETTE GATTARI ROSS, towed (Ps’) vehicles 7/7/21 entering the
' CURTILAGE OF (Ps’) residence property 7568 Hudson Ave Warren Mi without
probable cause or search warrant IN VIOLATION OF THE 4, 5, 14%
| AMENDMENT US CONSTITUTION. The court order to tow “inoperable vehicles”
was issued by Judge Chumra AFTER cars were towed and ORDER was limited to

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Case 2:23-cv-11597-BRM-CI ECF No. 29, PagelD.98 Filed 08/25/23 Page 16 of 17

“inoperable vehicles”. This order is unconstitutional because the 2 cars were towed
WERE OPERABLE & entered the same day the order was entered and was not
served on Ps’ Thrower or Nelson, i.e., “without notice and an opportunity to be
heard”. (P) Thrower 2011 Silverado just arrived 7/7/21 from OH hours before-7.00
AM. (P) NELSON HONDA WAS PARKED ON CONCRETE DRIVEWAY
' BEHIND APARTMENT BUILDING. This violated (Ps’) United States
Constitutional rights under the 4, 5, 14 Amendment and Privacy Act. There was no
_ legal reason to tow licensed OPERABLE vehicles from (Ps’) residence. (P) NELSON
- WAS A TENANT OF THE PROPERTY, 7/7/21, (P) NELSON HONDA WAS
OPERABLE & WAS TOWED WITHOUT SEARCH WARRANT, WITHOUT
PROBABLE CAUSE, DEFENDANTS ENTERING THE CURTILAGE
PROPERTY WITHOUT SEARCH WARRANT

e CLAIM NUMBER FOUR

¢ 88) Per the facts supra same as if rewritten herein the United States Constitutional
rights 4, 5TH, 14 Amendment of UNITED STATES CONSTITUTION OF plaintiff
Thrower were violated when (D) Scott performed a) “citizens arrest” on (P) Thrower
SEIZING (P) THROWER, SEARCHING (P) THROWER AND HIS PERSONAL
PROPERTY after being contacted by (D) Hertz Brothers in a conspiracy stating that
“Thrower was attempting to retrieve his vehicles” per earlier agreement, 7/7/21. b)

| during (D) Scott “citizen’s arrest” 7/8/21 (D) SCOTT, RESTRAINING THROWER

spitting on (P) Thrower WHILE SCREAMING during unconstitutional CITIZENS
arrest when covid WAS STILL AN ISSUE EXPOSING (P) THROWER TO “STATE
CREATED RISK”, SINCE PEOPLE WERE STILLING DIEING OF covid

| THROWER BEING DEFINED AS AN “AT RISK” PERSON

e CLAIM NUMBER FIVE

e 89) The defendant Scott violated state law of assault and battery, kidnapping, when
doing an alleged citizen’s arrest on plaintiff Thrower at (D) Service Towing Inc. tow
| yard in conspiracy with (D) Hertz brother(s).
. CLAIM NUMBER SIX

Casd 2:23-Cv-11597-BRM-CI ECF No. 29, PagelD.99 Filed 08/25/23 Page 17 of 17

¢ 90) The actions of the DEFENDANTS SAME REWRITTEN HEREIN EXPOSED
| (P) NELSON TO “STATE CREATED RISK” IN VIOLATION OF THE 4, 5, 14%
AMENDMENT US CONSTITUITON WHEN (Ps') NELSON/Thrower were
FORCED TO RETREIVE ILLEGALLY TOWED HONDA FROM SERVICE
TOWING INC., ABLE TOWING LLC (D) HERTZ BROTHERS private parties,
WHEN COVID WAS STILL A RISK AND (Ps') NELSON/Thrower are DEFINED
“AT RISK” PERSON in re covid

e CLAIM NUMBER SEVEN
e | 91) Per facts rewritten herein intentional infliction of emotional distress
° RELIEF

e Award $100 million US Dollars compensatory and punitive damages jointly and
severally, all towing fees 7/7/21, interest, ALL EXPENSES, cost of personal property
| taken 7/7/21, broken glasses, phone 7/8/21, PERSONAL PROPERTY TAKEN
~ FROM (Ps’) NELSON, THROWER 3/20, 7/7/21, AND RETURN MONIES PAID
BY (P) THROWER FOR ALLEGED “WORK”, “MOWING GRASS”, PER FACTS
WHEN GOVERNOR HAD ISSUED EMERGENCY ORDERS “HARBOR IN
PLACE”, “NO MOWING” DURING COVID
e JURY TRIAL DEMANDED

¢ Grant any other relief this Court deems just and is entitled

Respectfully subpaitted,

— Oy a , ot:
Albert Thrower pro’se*EKzabeth Nel$on pro’se-7 ©

17

